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                                                          APPEAL,CAT B,CLOSED,INTERPRETER
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:12−cr−00184−RJL−1
                              Internal Use Only

Case title: USA v. LEYVA                                   Date Filed: 08/24/2012

Assigned to: Judge Richard J. Leon
Appeals court case number:
17−3027

Defendant (1)
ALFREDO BELTRAN LEYVA                represented by A. Eduardo Balarezo
also known as                                       BALAREZO LAW
MOCHOMO                                             400 Seventh Street, NW
                                                    Suite 306
                                                    Washington, DC 20004
                                                    (202) 639−0999
                                                    Fax: (202) 639−0899
                                                    Email: filings@balarezolaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained

                                                   Victor E. Rocha
                                                   LAW OFFICE OF VICTOR E. ROCHA, P.A.
                                                   990 Biscayne Blvd
                                                   Suite O−903
                                                   Miami, FL 33132
                                                   (305) 774−9111
                                                   Fax: (305) 514−0987
                                                   Email: vicrocha@comcast.net
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                   William B. Purpura , Jr.
                                                   LAW OFFICE OF PURPURA & PURPURA
                                                   8 East Mulberry Street
                                                   Baltimore, MD 21202
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                                                   Fax: (410) 576−9351
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                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained


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                                              David S. Zapp
                                              46 East 92nd Stret
                                              Suite 2
                                              New York, NY 10128
                                              (212) 410−3351
                                              Fax: (917) 492−1879
                                              Email: davidzapp@aol.com
                                              TERMINATED: 11/25/2014
                                              Designation: Retained

Pending Counts                                Disposition
21:959, 960, and 963;
NARCOTICS − SELL,
DISTRIBUTE, OR DISPENSE;
Conspiracy to distribute 5
                                              Sentenced to Life imprisonment, followed by Sixty
kilograms or more of cocaine, 50
                                              (60) months of Supervised Release, Special
grams or more of
                                              Assessment of $100.00 and a fine of $5,000.00
methamphetamine, 1 kilogram or
                                              were imposed.
more of heroin and 1,000
kilograms or more of marijuana for
importation into the United States.
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                             Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                    Disposition
None



Plaintiff
USA                                     represented by Adrian Rosales
                                                       U.S. DEPARTMENT OF JUSTICE
                                                       Narcotic and Dangerous Drug Section
                                                       145 N Street, NE
                                                       Second Floor, East Wing
                                                       Washington, DC 20530
                                                       (202) 598−2281
                                                       Fax: (202) 514−0483

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                                          Email: adrian.rosales@usdoj.gov
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: Assistant U.S. Attorney

                                          Amanda Nunn Liskamm
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                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: Assistant U.S. Attorney

                                          Andrea Goldbarg
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                                          Criminal Division
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                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: Assistant U.S. Attorney

                                          Jason James Ruiz
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                                          Dangerous Drug Section
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                                          Marcia M. Henry
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                                                            Email: marcia.henry@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Assistant U.S. Attorney

Date Filed   #    Page Docket Text
08/24/2012    1        INDICTMENT as to ALFREDO BELTRAN LEYVA (1) count(s) 1.
                       (CRIMINAL FORFEITURE ALLEGATION) (zhsj, ) (Entered: 08/28/2012)
08/24/2012    2        MOTION to Seal by USA as to ALFREDO BELTRAN LEYVA.
                       (Attachments: # 1 Text of Proposed Order) (zhsj, ) (Entered: 08/28/2012)
12/12/2012    3        Case as to ALFREDO BELTRAN LEYVA reassigned to Calendar Committee.
                       Judge Richard J. Leon no longer assigned to the case. (ds) (Entered:
                       12/12/2012)
11/14/2014    5        MOTION to Unseal Case by USA as to ALFREDO BELTRAN LEYVA.
                       (zhsj, ) (Entered: 11/14/2014)
11/14/2014    6        SUPPLEMENT by USA as to ALFREDO BELTRAN LEYVA re 5 MOTION
                       to Unseal Case. (zhsj, ) (Entered: 11/14/2014)
11/14/2014             *SEALED* MINUTE ORDER granting 5 Motion to Unseal Case as to
                       ALFREDO BELTRAN LEVYA (1). It is hereby ORDERED that the motion is
                       GRANTED. It is further ORDERED that the case and docket be unsealed,
                       effective 9:00 AM Monday, November 17th, 2014. It is further ORDERED
                       that the Government's Motion to Relate and Transfer Case, filed on 11/5/2014,
                       shall remain under seal. Signed by Judge Richard J. Leon on 11/14/14. (lcrjl2, )
                       (Entered: 11/14/2014)
11/17/2014             Case unsealed as specified pursuant to minute order dated 11/14/14 as to
                       ALFREDO BELTRAN LEYVA. (ztnr, ) (Entered: 11/17/2014)
11/17/2014    7        MOTION for Temporary Detention Pending Trial Pursuant to 18 U.S.C. §
                       3142(e)(1), with attached proposed order, by USA as to ALFREDO BELTRAN
                       LEYVA. (Goldbarg, Andrea) Modified on 11/17/2014 (mlp) (Entered:
                       11/17/2014)
11/17/2014    8        NOTICE OF ATTORNEY APPEARANCE Amanda Nunn Liskamm
                       appearing for USA. (Liskamm, Amanda) (Entered: 11/17/2014)
11/17/2014    9        Case as to ALFREDO BELTRAN LEYVA reassigned to Judge Richard J.
                       Leon as defendant is no longer a fugitive. Calendar Committee no longer
                       assigned to the case. (ztnr, ) (Entered: 11/17/2014)
11/17/2014             Arrest of ALFREDO BELTRAN LEYVA. (kk) (Entered: 11/17/2014)
11/17/2014   10        Arrest Warrant, dated 8/24/12, returned executed on 11/17/14 as to ALFREDO
                       BELTRAN LEYVA. (kk) (Entered: 11/17/2014)
11/17/2014             Minute Entry for Initial Appearance and Arraignment as to ALFREDO
                       BELTRAN LEYVA held before Magistrate Judge Alan Kay on 11/17/14 :
                       Assistant Federal Public Defender, Shawn Moore, standing in for this hearing
                       only. Plea of Not Guilty entered by ALFREDO BELTRAN LEYVA to Count
                       1. A detainer has been lodged against the defendant. Hearing on Government's

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                    Motion for Pretrial Detention 7 set for 11/21/14 at 1:45 PM in Courtroom 7
                    before Magistrate Judge Alan Kay. Bond Status of Defendant: Defendant Held
                    Without Bond. Defendant committed/commitment issued. Court Reporter:
                    Bowles Reporting Service − Ctrm. 7; FTR Time Frame: 2:33:39 − 2:47:29.
                    Defense Attorney: Shawn Moore (standing in for this hearing only); DOJ
                    Attorneys: Andrea Goldbarg and Amanda Liskamm; Pretrial Officer: Jeremy
                    Schumacher; Spanish Interpreter: Jaime de Castellvi'. (kk) (Entered:
                    11/17/2014)
11/17/2014   12     NOTICE OF ATTORNEY APPEARANCE : David S. Zapp appearing for
                    Defendant ALFREDO BELTRAN LEYVA. (kk) (Entered: 11/18/2014)
11/17/2014   13     ENTERED IN ERROR.....NOTICE OF ATTORNEY APPEARANCE: David
                    S. Zapp appearing for ALFREDO BELTRAN LEYVA. (hsj, ) Modified on
                    11/19/2014 (zhsj, ). (Entered: 11/18/2014)
11/18/2014   11     NOTICE OF ATTORNEY APPEARANCE: A. Eduardo Balarezo appearing
                    for ALFREDO BELTRAN LEYVA (Balarezo, A.) (Entered: 11/18/2014)
11/18/2014          MINUTE ORDER as to ALFREDO BELTRAN LEYVA : Status Conference
                    regarding counsel of record for the defendant set for 11/21/2014 11:00 AM in
                    Courtroom 18 before Judge Richard J. Leon. SO ORDERED − Richard J. Leon
                    on 11/18/14. (tb, ) (Entered: 11/18/2014)
11/18/2014   14     NOTICE of Change of Address by David S. Zapp (Zapp, David) (Entered:
                    11/18/2014)
11/19/2014   15     NOTICE OF ATTORNEY APPEARANCE: Victor E. Rocha appearing for
                    ALFREDO BELTRAN LEYVA (Rocha, Victor) (Entered: 11/19/2014)
11/19/2014          NOTICE OF ERROR re 13 Notice of Attorney Appearance − Defendant;
                    emailed to Evette_Saunders@dcd.uscourts.gov, amanda.liskamm@usdoj.gov,,
                    cc'd 7 associated attorneys −− The PDF file you docketed contained errors: 1.
                    Docket Entry 13 was inadvertently entered. Docket Entry 12 is the correct
                    document. (zhsj, ) (Entered: 11/19/2014)
11/19/2014   16     MOTION Authorization for Legal Visit With Foreign Attorneys by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.)
                    (Entered: 11/19/2014)
11/20/2014   17     MOTION to Strike Appearances of Attorneys David Zapp and Victor Rocha by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order, #
                    2 Exhibit, # 3 Exhibit)(Balarezo, A.) (Entered: 11/20/2014)
11/21/2014   18     MOTION to Withdraw as Attorney by David Zapp. by ALFREDO BELTRAN
                    LEYVA. (Zapp, David) (Entered: 11/21/2014)
11/21/2014          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    11/21/2014 before Judge Richard J. Leon: Attorney Victor Rocha moved orally
                    to withdraw as counsel for defendant; heard and GRANTED. Defendant's brief
                    regarding the motion to transfer case due by 12/3/2014. Status Conference set
                    for 12/9/2014 11:30 AM in Courtroom 18 before Judge Richard J. Leon. Oral
                    motion by defendant to be detained; heard and GRANTED. Order forthcoming
                    regarding attorney Juan Mondragon visits to defendant at DC Jail; Defendant
                    committed; commitment issued. Court Reporter: Bill Zaremba; Interpreter:
                    Angeles Estrada;Defense Attorney: A. Eduardo Ballerezo/Victor Rocha; US
                                                                                                    5
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                    Attorney: Amanda Liskamm. (tb, ) (Entered: 11/24/2014)
11/25/2014          MINUTE ORDER granting 18 Motion to Withdraw as Counsel of Record. It is
                    hereby ORDERED that Attorney David S. Zapp's appearance in this matter is
                    terminated. Signed by Judge Richard J. Leon on 11/25/2014. (lcrjl2, ) (Entered:
                    11/25/2014)
11/28/2014   19     MOTION to Exclude Time under the Speedy Trial Act and for Complex Case
                    Designation by USA as to ALFREDO BELTRAN LEYVA. (Liskamm,
                    Amanda) (Entered: 11/28/2014)
11/28/2014   21     MOTION for a Complex Case Designation by USA as to ALFREDO
                    BELTRAN LEYVA. (See Docket Entry 19 to View Document.) (hsj, )
                    (Entered: 12/01/2014)
12/01/2014   20     NOTICE of Filing − First Request for Discovery by ALFREDO BELTRAN
                    LEYVA (Attachments: # 1 Exhibit)(Balarezo, A.) (Entered: 12/01/2014)
12/04/2014          NOTICE OF ERROR re 22 Reply to document; emailed to
                    filings@balarezolaw.com, cc'd 3 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Docket Entry 22 Modified to Correct Title of
                    Pleading. Do Not Refile. (zhsj, ) (Entered: 12/04/2014)
12/06/2014   23     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 21
                    MOTION FOR A COMPLEX CASE DESIGNATION, 19 MOTION to
                    Exclude Time under the Speedy Trial Act and for Complex Case Designation
                    (Balarezo, A.) (Entered: 12/06/2014)
12/08/2014   25     MOTION for Protective Order as to Discovery Documents by USA as to
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Goldbarg, Andrea) (Entered: 12/08/2014)
12/08/2014   26     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 25
                    MOTION for Protective Order as to Discovery Documents (Attachments: # 1
                    Exhibit, # 2 Exhibit)(Balarezo, A.) (Entered: 12/08/2014)
12/09/2014          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    12/9/2014 before Judge Richard J. Leon: Government will provide to
                    defendant non−protective discovery material by noon on 12/10/2014. Parties to
                    file Joint Proposed Protective Order in a couple days of today's hearing. Status
                    Conference set for 12/23/2014 02:30 PM in Courtroom 18 before Judge
                    Richard J. Leon. Defendant committed; commitment issued. Court Reporter:
                    Bill Zaremba Defense Attorney: A. Eduardo Balarezo; US Attorney: Amanda
                    Liskamm/Andrea Goldbarg; Interpreter: Teresa Salazar. (tb, ) (Entered:
                    12/10/2014)
12/12/2014   27     Second MOTION for Protective Order for Discovery by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Goldbarg,
                    Andrea) (Entered: 12/12/2014)
12/23/2014          Minute Entry for proceedings held before Judge Richard J. Leon:Status
                    Conference as to ALFREDO BELTRAN LEYVA held on 12/23/2014. Status
                    Conference set for 1/16/2015 at 11:30 AM in Courtroom 18 before Judge
                    Richard J. Leon. Bond Status of Defendant: COMMITTED/COMMITMENT
                    ISSUED; Court Reporter: BARABAR DEVICO Defense Attorney:
                    EDUARDO BALAREZO; US Attorney: ANDREA GOLDBARG/AMANDA
                                                                                                       6
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                    LISKAMM; Interpreter: TERESA SALAZAR; (mac) (Entered: 12/23/2014)
12/27/2014   28     NOTICE of Filing − Mexican Attorney Credentials by ALFREDO BELTRAN
                    LEYVA (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                    Exhibit)(Balarezo, A.) (Entered: 12/27/2014)
12/27/2014   29     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 25
                    MOTION for Protective Order as to Discovery Documents (Balarezo, A.)
                    (Entered: 12/27/2014)
01/13/2015   30     THIRD SUPPLEMENTAL MOTION for Protective Order for Discovery by
                    USA as to ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of
                    Proposed Order)(Liskamm, Amanda) Modified on 1/14/2015 (hsj, ). (Entered:
                    01/13/2015)
01/14/2015   31     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 30 Third
                    MOTION for Protective Order for Discovery (Balarezo, A.) (Entered:
                    01/14/2015)
01/14/2015   32     MOTION to Compel Production of Discovery by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    01/14/2015)
01/14/2015   33     WITHDRAWN PURSUANT TO ORDER FILED 2/9/15.....MOTION to
                    Compel Disclosure of Brady Evidence by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order, # 2 Exhibit)(Balarezo, A.) Modified
                    on 2/9/2015 (zgdf, ). (Entered: 01/14/2015)
01/14/2015          NOTICE OF ERROR re 30 Motion for Protective Order ; emailed to
                    amanda.liskamm@usdoj.gov, cc'd 3 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Docket Entry 30 Modified to Correct Title of
                    Document. Do Not Refle. (zhsj, ) (Entered: 01/14/2015)
01/14/2015   34     NOTICE OF FILING − MEMBERS OF DEFENSE TEAM by ALFREDO
                    BELTRAN LEYVA (Balarezo, A.) (Entered: 01/14/2015)
01/16/2015          Minute Entry for proceedings held before Judge Richard J. Leon: Status
                    Conference as to ALFREDO BELTRAN LEYVA held on 1/16/2015. The
                    Government's Response to Defendant's 33 Motion to Compel Disclosure of
                    Brady Evidence is due by 1/30/2015; Defendant's Reply is due by 2/6/2015.
                    Another Status Conference is scheduled for 2/20/2015 at 2:30 PM in
                    Courtroom 18 before Judge Richard J. Leon. Bond Status of Defendant:
                    Defendant Committed/Commitment Issued; Court Reporter: William Zaremba;
                    Defense Attorney: A. Eduardo Balarezo; US Attorney: Andrea Goldbarg;
                    Interpreter: Angeles Estrada. (jth) (Entered: 01/16/2015)
01/20/2015   35     PROTECTIVE ORDER as to ALFREDO BELTRAN LEYVA setting forth
                    procedures for handling confidential material; allowing designated material to
                    be filed under seal. Signed by Judge Richard J. Leon on 01/20/15. (tb, )
                    (Entered: 01/20/2015)
01/29/2015   36     NOTICE OF ATTORNEY APPEARANCE Adrian Rosales appearing for
                    USA. (Rosales, Adrian) (Entered: 01/29/2015)
01/30/2015   37     RESPONSE by USA as to ALFREDO BELTRAN LEYVA re 33 MOTION to
                    Compel Disclosure of Brady Evidence (Attachments: # 1 Text of Proposed

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                    Order)(Goldbarg, Andrea) (Entered: 01/30/2015)
02/06/2015   38     MOTION to Withdraw Document 33 MOTION to Compel Disclosure of
                    Brady Evidence by ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of
                    Proposed Order)(Balarezo, A.) (Entered: 02/06/2015)
02/09/2015   39     ORDER granting 38 Motion to Withdraw Defendant's Motion to Compel
                    Disclosure of Brady Evidence (Doc. No. 33) with leave to re−file at a later date
                    as to ALFREDO BELTRAN LEYVA (1). Signed by Judge Richard J. Leon on
                    2/8/15. (gdf) (Entered: 02/09/2015)
02/11/2015   40     MOTION Relief from Protective Order by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/11/2015)
02/19/2015   41     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    40 MOTION Relief from Protective Order (Liskamm, Amanda) (Entered:
                    02/19/2015)
02/20/2015   42     REPLY by ALFREDO BELTRAN LEYVA to Government's Opposition to
                    Defendant's Motion for Relief from Protective Order (Balarezo, A.) (Entered:
                    02/20/2015)
02/20/2015   43     MOTION for Leave to File Supplement Ex Parte and Under Seal by USA as to
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Liskamm, Amanda) (Entered: 02/20/2015)
02/20/2015          Minute Entry for proceedings held before Judge Richard J. Leon: Status
                    Conference as to ALFREDO BELTRAN LEYVA held on 2/20/2015. Another
                    Status Conference is set for 3/13/2015 at 11:30 AM in Courtroom 18 before
                    Judge Richard J. Leon. Bond Status of Defendant: Defendant
                    Committed/Commitment Issued; Court Reporter: William Zaremba; Defense
                    Attorney: A. Eduardo Ballarezo; US Attorneys: Amanda Liskamm and Andrea
                    Goldberg; Interpreters: Teresa Roman and Teresa Salazar. (jth) (Entered:
                    02/20/2015)
02/20/2015   44     ORDER as to ALFREDO BELTRAN LEYVA, Granting USA's 43 Motion for
                    Leave to File Supplement Ex Parte and Under Seal. The Government may file
                    its Notice under seal and ex parte. Signed by Judge Richard J. Leon on
                    02/20/2015. (jth) (Entered: 02/20/2015)
03/12/2015   47     MOTION for Protective Order Modified by USA as to ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Goldbarg, Andrea)
                    (Entered: 03/12/2015)
03/12/2015   48     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 47
                    MOTION for Protective Order Modified (Balarezo, A.) (Entered: 03/12/2015)
03/13/2015          Minute Entry for proceedings held before Judge Richard J. Leon: Status
                    Conference as to ALFREDO BELTRAN LEYVA held on 3/13/2015. An Ex
                    Parte Status Conference with only the Defendant and his Attorney is scheduled
                    for 3/17/2015 at 4:00 PM in Courtroom 18 before Judge Richard J. Leon.
                    Another Status Conference with all parties is scheduled for 4/13/2015 at 11:30
                    AM in Courtroom 18 before Judge Richard J. Leon. Bond Status of Defendant:
                    Defendant Committed/Commitment Issued; Court Reporter: William Zaremba;
                    Defense Attorney: A. Eduardo Balarezo; US AttorneyS: Amanda Liskamm and
                                                                                                       8
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                    Andrea Goldbarg. Interpreter: Teresa Salazar. (jth) (Entered: 03/16/2015)
03/16/2015   49     REPLY TO OPPOSITION by USA as to ALFREDO BELTRAN LEYVA re
                    47 MOTION for Protective Order Modified (Liskamm, Amanda) (Entered:
                    03/16/2015)
04/13/2015          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    4/13/2015 before Judge Richard J. Leon: Status Conference set for 5/4/2015
                    11:30 AM in Courtroom 18 before Judge Richard J. Leon. Government shall
                    notify the Court if it intends to use ledgers by 5/4/2015. The government shall
                    submit to the Court it's exhibit list, proposed voir dire, and proposed jury
                    instructions by 8/28/2015. Pretrial Conference set for 8/31/2015 03:00 PM in
                    Courtroom 18 before Judge Richard J. Leon. Jury Trial set for 9/14/2015 10:00
                    AM in Courtroom 18 before Judge Richard J. Leon. The Court finds in the
                    interest of justice (XT) that the time between 04/13/15 and 05/04/15 shall be
                    excluded from the speedy trial calculation. Defendant committed; commitment
                    issued. Court Reporter: Bill Zaremba; Defense Attorney: A. Eduardo
                    Ballarezo; US Attorney: Amanda Liskamm, Andrea Goldberg and Adrian
                    Rosales; Interpreter: Teresa Roman. (tb, ) Modified on 4/13/2015 (tb, ).
                    (Entered: 04/13/2015)
04/26/2015   50     Consent MOTION to Continue Status Hearing by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    04/26/2015)
05/01/2015          MINUTE ORDER: It is hereby ORDERED that 50 Defendant's Consent
                    Motion to Continue Status Hearing is DENIED. It is further ORDERED that
                    the status conference shall proceed as scheduled on May 4, 2015 at 11:30AM
                    in Courtroom 18 before Judge Richard J. Leon. SO ORDERED − Judge
                    Richard J. Leon on 05/01/15. (tb, ) (Entered: 05/01/2015)
05/04/2015          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    5/4/2015 before Judge Richard J. Leon: The government shall disclose to
                    defense counsel the name of person(s) responsible for preparing the ledgers to
                    be use at trial. Status Conference set for 5/18/2015 03:00 PM in Courtroom 18
                    before Judge Richard J. Leon. The Court finds in the interest of justice (XT)
                    that the time between 05/04/15 and 05/18/15 shall be excluded from the speedy
                    trial calculation. Defendant committed; commitment issued; Court Reporter:
                    Bill Zaremba Defense Attorney: A. Eduardo Ballerezo; US Attorney: Amanda
                    Liskamm, Andrea Goldbarg, Adrian Rosales. Interpreter: Teresa Salazar. (tb, )
                    Modified on 5/4/2015 (tb, ). (Entered: 05/04/2015)
05/18/2015          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    5/18/2015 before Judge Richard J. Leon: Motions due by 6/19/2015. Responses
                    due by 7/10/2015, Replies due by 7/17/2015. Motion Hearing set for 7/27/2015
                    02:30 PM in Courtroom 18 before Judge Richard J. Leon. The Courts ordered
                    government counsel to inform defense counsel of pages of the transaction log
                    that relates to the defendant by 06/01/15.Defendant committed; commitment
                    issued. Court Reporter: Janice Dickman Defense Attorney: A. Eduardo
                    Balarezo; US Attorney: Andrea Goldbarg and Adrian Rosales. (tb, ) (Entered:
                    05/19/2015)
05/27/2015   51     PROTECTIVE ORDER RE: 47 Motion for Protective Order as to ALFREDO
                    BELTRAN LEYVA (1), setting forth procedures for handling confidential

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                    material; allowing designated material to be filed under seal. Signed by Judge
                    Richard J. Leon on 05/26/15. (tb) (Entered: 05/27/2015)
05/27/2015          MINUTE ORDER: Upon consideration of 40 Defendant Alfredo Beltran
                    Leyva's Motion for Relief from Protective Order, it is hereby ORDERED that
                    Defendant's Motion is DENIED. SO ORDERED − Judge Richard J. Leon on
                    05/27/15. (tb) (Entered: 05/28/2015)
06/01/2015   52     NOTICE Regarding Transaction Logs by USA as to ALFREDO BELTRAN
                    LEYVA (Goldbarg, Andrea) (Entered: 06/01/2015)
06/17/2015   53     Consent MOTION for Extension of Time to File Pre−Trial Motions by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Balarezo, A.) (Entered: 06/17/2015)
06/19/2015   54     NOTICE OF FILING − SECOND REQUEST FOR DISCOVERY by
                    ALFREDO BELTRAN LEYVA (Attachments: # 1 Supplement)(Balarezo, A.)
                    (Entered: 06/19/2015)
06/19/2015   56     MOTION for Bill of Particulars by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    06/19/2015)
06/19/2015   57     MOTION PRE−TRIAL DETERMINATION OF CONSPIRACY by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Balarezo, A.) Modified on 6/22/2015 (hsj). (Entered: 06/19/2015)
06/19/2015   58     MOTION for Disclosure OF INFORMANTS by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    06/19/2015)
06/19/2015   59     MOTION TO ENFORCE RULE OF SPECIALTY OR, ALTERNATIVELY,
                    TO LIMIT SCOPE OF CONSPIRACY by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    06/19/2015)
06/19/2015   60     MOTION to Dismiss Case FOR IMPROPER VENUE by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.)
                    (Entered: 06/19/2015)
06/19/2015   61     MOTION for Release of Brady Materials by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    06/19/2015)
06/19/2015   62     NOTICE OF FILING − EXHIBITS TO DOC. # 59 by ALFREDO BELTRAN
                    LEYVA re 59 MOTION TO ENFORCE RULE OF SPECIALTY OR,
                    ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY (Attachments: #
                    1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Balarezo, A.) (Entered:
                    06/19/2015)
06/19/2015   63     NOTICE OF FILING − EXHIBITS TO DOC. # 60 by ALFREDO BELTRAN
                    LEYVA re 60 MOTION to Dismiss Case FOR IMPROPER VENUE
                    (Attachments: # 1 Exhibit, # 2 Exhibit)(Balarezo, A.) (Entered: 06/19/2015)
06/19/2015   64     Emergency MOTION Remove Docket Entry 55 From the Public Docket re 55
                    Response to document by USA as to ALFREDO BELTRAN LEYVA.

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                    (Attachments: # 1 Text of Proposed Order)(Liskamm, Amanda) (Entered:
                    06/19/2015)
06/19/2015   65     ORDER as to ALFREDO BELTRAN LEYVA (1). Upon consideration of the
                    Government's Emergency Motion to Remove Docket Entry 55 from the Public
                    Docket, it is ORDERED that Docket Entry 55 is REMOVED from the public
                    docket; and it is further ORDERED that Docket Entry 55 be temporarily filed
                    under seal until the Court can hold a hearing with counsel to discuss alternative
                    approaches to maintaining the confidentiality of the law enforcement
                    information revealed therein. Signed by Judge Richard J. Leon on 6/19/2015.
                    (jth) (Entered: 06/19/2015)
06/19/2015   66     MEMORANDUM in Opposition by ALFREDO BELTRAN LEYVA re 64
                    Emergency MOTION Remove Docket Entry 55 From the Public Docket re 55
                    Response to document (Balarezo, A.) Modified on 6/22/2015 (hsj). (Entered:
                    06/19/2015)
06/19/2015   67     MOTION to Admit Evidence of Other Crimes by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Liskamm,
                    Amanda) (Entered: 06/19/2015)
06/19/2015   68     MOTION to Admit/Allow Evidence, Cross−Examination and Lead Case Agent
                    at Counsel Table by USA as to ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Liskamm, Amanda) (Entered:
                    06/19/2015)
06/19/2015   69     MOTION to Preclude Certain Cross−Examination or Argument By Defense
                    Counsel by USA as to ALFREDO BELTRAN LEYVA. (Attachments: # 1
                    Text of Proposed Order)(Liskamm, Amanda) (Entered: 06/19/2015)
06/19/2015   70     MOTION for Additional Information by ALFREDO BELTRAN LEYVA. (See
                    docket entry 55 to view document). (hsj) (Entered: 06/22/2015)
06/22/2015   71     ORDER as to ALFREDO BELTRAN LEYVA. Granting Defendant's 53
                    Consent Motion for Enlargement of Time to file Pre−Trial Motions. Pre−Trial
                    Motions are due by 6/22/2015; Responses are due by 7/13/2015; Replies, if
                    any, are due by 7/20/2015. Signed by Judge Richard J. Leon on 6/22/2015.
                    (jth) (Entered: 06/22/2015)
06/29/2015   72     MOTION to Compel Discovery by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order, # 2 Exhibit, # 3 Exhibit, # 4
                    Exhibit, # 5 Exhibit)(Balarezo, A.) (Entered: 06/29/2015)
07/10/2015   73     Consent MOTION for Extension of Time to File Response/Reply by USA as to
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Rosales, Adrian) (Entered: 07/10/2015)
07/13/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: It is hereby
                    ORDERED that 73 the Government's Motion for an Extension of Time to file a
                    Response to Defendant's Motion to Enforce the Rule of Specialty is
                    GRANTED. It is further ORDERED that the Government has up to and
                    including July 16, 2015, to file its Response. It is further ORDERED that
                    Defendant has up to and including July 23, 2015, to file a Reply in Support of
                    59 Defendant's Motion to Enforce the Rule of Speciality or Alternatively, to
                    Limit Scope of Conspiracy. Signed by Judge Richard J. Leon on 7/13/2015.

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                    (jth) (Entered: 07/13/2015)
07/13/2015   74     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    61 MOTION for Release of Brady Materials , 56 MOTION for Bill of
                    Particulars , 72 MOTION to Compel Discovery, 57 MOTION PRE−TRIAL
                    DETERMINATION OF CONSPIRACY , 58 MOTION for Disclosure OF
                    INFORMANTS (Liskamm, Amanda) (Entered: 07/13/2015)
07/13/2015   75     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    60 MOTION to Dismiss Case FOR IMPROPER VENUE (Rosales, Adrian)
                    (Entered: 07/13/2015)
07/13/2015   76     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 69
                    MOTION to Preclude Certain Cross−Examination or Argument By Defense
                    Counsel (Balarezo, A.) (Entered: 07/13/2015)
07/13/2015   77     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 68
                    MOTION to Admit/Allow Evidence, Cross−Examination and Lead Case Agent
                    at Counsel Table (Balarezo, A.) (Entered: 07/13/2015)
07/13/2015   78     Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 67
                    MOTION to Admit Evidence of Other Crimes (Balarezo, A.) (Entered:
                    07/13/2015)
07/16/2015   79     NOTICE OF ATTORNEY APPEARANCE Marcia M. Henry appearing for
                    USA. (Henry, Marcia) (Entered: 07/16/2015)
07/16/2015   80     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    59 MOTION TO ENFORCE RULE OF SPECIALTY OR,
                    ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY (Attachments: #
                    1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Rosales, Adrian) (Entered:
                    07/16/2015)
07/17/2015          Set/Reset Deadlines as to ALFREDO BELTRAN LEYVA: Response due by
                    7/16/2015. (tb) (Entered: 07/17/2015)
07/20/2015   81     REPLY in Support by USA as to ALFREDO BELTRAN LEYVA re 69
                    MOTION to Preclude Certain Cross−Examination or Argument By Defense
                    Counsel , 67 MOTION to Admit Evidence of Other Crimes , 68 MOTION to
                    Admit/Allow Evidence, Cross−Examination and Lead Case Agent at Counsel
                    Table (Henry, Marcia) (Entered: 07/20/2015)
07/20/2015   82     REPLY by ALFREDO BELTRAN LEYVA TO GOVERNMENT'S OMNIBUS
                    OPPOSITION (Balarezo, A.) (Entered: 07/20/2015)
07/20/2015   83     REPLY by ALFREDO BELTRAN LEYVA TO GOVERNMENT'S
                    OPPOSITION TO DEFENDANT'S MOTION TO DISMISS FOR LACK OF
                    VENUE (Balarezo, A.) (Entered: 07/20/2015)
07/21/2015   84     REPLY by ALFREDO BELTRAN LEYVA TO GOVERNMENT'S
                    OPPOSITION TO DEFENDANT'S MOTION TO ENFORCE RULE OF
                    SPECIALTY OR ALTERNATIVELY TO LIMIT SCOPE OF CONSPIRACY
                    (Balarezo, A.) Modified on 7/22/2015 (hsj). (Entered: 07/21/2015)
07/22/2015          NOTICE OF ERROR re 84 Response to document; emailed to
                    filings@balarezolaw.com, cc'd 5 associated attorneys −− The PDF file you

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                    docketed contained errors: 1. Docket Entry 84 Modified to Correct Entry as a
                    Reply to Opposition. Do Not Refile. (zhsj, ) (Entered: 07/22/2015)
07/25/2015   85     NOTICE Second Notice Regarding Transaction Logs by USA as to ALFREDO
                    BELTRAN LEYVA (Henry, Marcia) (Entered: 07/25/2015)
07/27/2015          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: Motion Hearing
                    RESET for 7/27/2015 03:30 PM in Courtroom 18 before Judge Richard J.
                    Leon. (tb) (Entered: 07/27/2015)
07/27/2015          Minute Entry: Motion Hearing as to ALFREDO BELTRAN LEYVA held on
                    7/27/2015 before Judge Richard J. Leon re 67 MOTION to Admit Evidence of
                    Other Crimes filed by USA, 68 MOTION to Admit/Allow Evidence,
                    Cross−Examination and Lead Case Agent at Counsel Table filed by USA,
                    motions heard and taken under advisement. Defendant committed;
                    commitment issued. Court Reporter: William Zaremba Defense Attorney:
                    Eduardo Balarezo; US Attorney: Andrea Goldbarg, Amanda Liskamm, Adrian
                    Rosales; Interpreter: Teresa Salazar. (tb) Modified on 7/28/2015 (tb). (Entered:
                    07/28/2015)
08/28/2015   86     Proposed Voir Dire by USA as to ALFREDO BELTRAN LEYVA (Henry,
                    Marcia) (Entered: 08/28/2015)
08/28/2015   87     Proposed Jury Instructions by USA as to ALFREDO BELTRAN LEYVA
                    (Henry, Marcia) (Entered: 08/28/2015)
08/28/2015   88     EXHIBIT LIST by USA as to ALFREDO BELTRAN LEYVA (Henry,
                    Marcia) (Entered: 08/28/2015)
08/31/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: It is hereby ordered
                    that the Pretrial Conference set for Monday, August 31, 2015 has been
                    RESCHEDULED. Pretrial Conference CONTINUED to 9/14/2015 11:00 AM
                    in Courtroom 18 before Judge Richard J. Leon.Jury Trial reset for 9/28/2015
                    10:00 AM in Courtroom 18 before Judge Richard J. Leon. SO ORDERED −
                    Judge Richard J. Leon on 08/31/15. (tb) (Entered: 08/31/2015)
09/08/2015   91     NOTICE of Filing − Third Request for Discovery by ALFREDO BELTRAN
                    LEYVA (Attachments: # 1 Exhibit)(Balarezo, A.) (Entered: 09/08/2015)
09/09/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: It is hereby
                    ORDERED that the pre−trial conference scheduled for September 14, 2015 at
                    11:00AM is CONVERTED into a Status Conference and Motion hearing to
                    address pending ex parte motions. SO ORDERED − Judge Richard J. Leon.
                    (tb) (Entered: 09/09/2015)
09/09/2015   92     MOTION for Release of Brady Materials by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order, # 2 Pictures)(Balarezo, A.)
                    Modified on 9/10/2015 (hsj). (Entered: 09/09/2015)
09/11/2015   93     NOTICE OF ATTORNEY APPEARANCE: William B. Purpura, Jr appearing
                    for ALFREDO BELTRAN LEYVA (Purpura, William) (Entered: 09/11/2015)
09/11/2015   94     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    92 MOTION for Release of Brady Materials (Henry, Marcia) (Entered:
                    09/11/2015)


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09/11/2015   95     MOTION for Release of Brady Materials (Fourth Motion) by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order, # 2
                    Exhibit)(Balarezo, A.) (Entered: 09/11/2015)
09/14/2015   96     Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    95 MOTION for Release of Brady Materials (Fourth Motion) (Liskamm,
                    Amanda) (Entered: 09/14/2015)
09/14/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: Status Conference
                    RESET for 9/14/2015 11:30 AM in Courtroom 18 before Judge Richard J.
                    Leon. SO ORDERED − Judge Richard J. Leon on 09/11/15. (tb) (Entered:
                    09/14/2015)
09/14/2015          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    9/14/2015 for proceedings held before Judge Richard J. Leon: Brady motions
                    by defendant heard and taken under advisement. Government's ex−parte status
                    report due 30 days from today's hearing. Parties to meet and confer regarding
                    the protective order and file an amended proposed protective order. Status
                    Conference set for 9/28/2015 11:30 AM in Courtroom 18 before Judge Richard
                    J. Leon.Defendant committed; commitment issued. Court Reporter: William
                    Zaremba; Defense Attorney: Eduardo Ballarezo; US Attorney: Andrea
                    Goldbarg, Amanda Liskamm and Adrian Rosales; Interpreter: Teres
                    Salazar/Martha Gutierrez−Shepard. (tb) Modified on 9/15/2015 (tb). (Entered:
                    09/15/2015)
09/18/2015   97     TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on
                    November 21, 2014; Page Numbers: 1−23. Date of Issuance: September 18,
                    2015. Court Reporter/Transcriber: William Zaremba; Telephone number: (202)
                    354−3249; Court Reporter Email Address: WilliamPZaremba@gmail.com.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/9/2015. Redacted Transcript Deadline set for
                    10/19/2015. Release of Transcript Restriction set for 12/17/2015.(wz) (Entered:
                    09/18/2015)
09/18/2015   98     TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on
                    December 9, 2014; Page Numbers: 1−55. Date of Issuance: September 18,
                    2015. Court Reporter/Transcriber: William Zaremba; Telephone number: (202)
                    354−3249; Court Reporter Email Address: WilliamPZaremba@gmail.com.

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                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/9/2015. Redacted Transcript Deadline set for
                    10/19/2015. Release of Transcript Restriction set for 12/17/2015.(wz) (Entered:
                    09/18/2015)
09/18/2015    99    TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on January
                    16, 2015; Page Numbers: 1−68. Date of Issuance: September 18, 2015. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249;
                    Court Reporter Email Address: WilliamPZaremba@gmail.com.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/9/2015. Redacted Transcript Deadline set for
                    10/19/2015. Release of Transcript Restriction set for 12/17/2015.(wz) (Entered:
                    09/18/2015)
09/18/2015   100    TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on
                    February 20, 2015; Page Numbers: 1−58. Date of Issuance: September 18,
                    2015. Court Reporter/Transcriber: William Zaremba; Telephone number: (202)
                    354−3249; Court Reporter Email Address: WilliamPZaremba@gmail.com.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.


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                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/9/2015. Redacted Transcript Deadline set for
                    10/19/2015. Release of Transcript Restriction set for 12/17/2015.(wz) (Entered:
                    09/18/2015)
09/18/2015   101    TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on May 4,
                    2015; Page Numbers: 1−22. Date of Issuance: September 18, 2015. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249;
                    Court Reporter Email Address: WilliamPZaremba@gmail.com.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/9/2015. Redacted Transcript Deadline set for
                    10/19/2015. Release of Transcript Restriction set for 12/17/2015.(wz) (Entered:
                    09/18/2015)
09/25/2015   102    SUPPLEMENT by USA as to ALFREDO BELTRAN LEYVA re 67
                    MOTION to Admit Evidence of Other Crimes (Attachments: # 1 Text of
                    Proposed Order)(Henry, Marcia) (Entered: 09/25/2015)
09/28/2015          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    9/28/2015 before Judge Richard J. Leon: Motion Hearing set for 11/13/2015
                    02:00 PM in Courtroom 18 before Judge Richard J. Leon. Defendant
                    committed; commitment issued. Court Reporter: William Zaremba; Defense
                    Attorney: Eduardo Balarezo and William Purpura, Jr.; US Attorney: Andrea
                    Goldbarg, Amanda Liskamm and Adrian Rosales; Interpreter: Teresa
                    Salazar/Martha Gutierrez−Shepard. (tb) (Entered: 09/28/2015)
11/05/2015   104    MOTION for Use of a Jury Questionnaire in Empanelling an Anonymous Jury
                    by USA as to ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of
                    Proposed Order)(Liskamm, Amanda) (Entered: 11/05/2015)
11/06/2015   105    Supplemental MOTION in Limine to Admit or Allow Evidence by USA as to
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Rosales, Adrian) (Entered: 11/06/2015)

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11/11/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. The Motions
                    Hearing presently scheduled for Friday, November 13, 2015, at 2:00 PM in
                    Courtroom 18 is continued to a date and time to be determined by the Court.
                    SO ORDERED. By Judge Richard J. Leon on 11/11/2015. (jth) (Entered:
                    11/11/2015)
11/13/2015   106    TRANSCRIPT OF MOTION HEARING PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on July 27,
                    2015; Page Numbers: 1−87. Date of Issuance: November 13, 2015. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249.
                    Transcripts may be ordered by submitting the Transcript Order Form.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 12/4/2015. Redacted Transcript Deadline set for
                    12/14/2015. Release of Transcript Restriction set for 2/11/2016.(wz) (Entered:
                    11/13/2015)
11/19/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. A Motions Hearing
                    is scheduled for 12/7/2015 at 3:00 PM in Courtroom 18 before Judge Richard
                    J. Leon. SO ORDERED. By Judge Richard J. Leon on 11/19/2015. (jth)
                    (Entered: 11/19/2015)
11/19/2015   107    ENTERED IN ERROR.....Consent MOTION to Continue MOTIONS
                    HEARING by ALFREDO BELTRAN LEYVA. (Balarezo, A.) Modified on
                    11/20/2015 (hsj). (Entered: 11/19/2015)
11/20/2015          NOTICE OF ERROR re 107 Motion to Continue ; emailed to
                    filings@balarezolaw.com, cc'd 7 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Incorrect event used, 2. Please refile document, 3.
                    Counsel is instructed to File Docket Entry 107 as a Motion. (zhsj, ) (Entered:
                    11/20/2015)
11/23/2015   108    Consent MOTION to Continue MOTIONS HEARING by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.)
                    (Entered: 11/23/2015)
11/23/2015   109    MOTION for Reconsideration OF USE OF ANONYMOUS JURY by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Balarezo, A.) (Entered: 11/23/2015)
11/23/2015          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. Granting
                    Defendant's Consent 108 Motion to Continue Motions Hearing. The Motions

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                    Hearing presently scheduled for 12/7/2015 at 3:00 PM is rescheduled for
                    12/15/2015 at 12:00 PM in Courtroom 18. SO ORDERED. By Judge Richard
                    J. Leon on 11/23/2015. (jth) (Entered: 11/23/2015)
12/07/2015   110    NOTICE OF FILING − COMPLETE EXH. 3 TO DOC 59 by ALFREDO
                    BELTRAN LEYVA (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                    Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(Balarezo, A.) (Entered:
                    12/07/2015)
12/07/2015   111    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    109 MOTION for Reconsideration OF USE OF ANONYMOUS JURY
                    (Liskamm, Amanda) (Entered: 12/07/2015)
12/09/2015   112    Memorandum in Opposition by ALFREDO BELTRAN LEYVA re 105
                    Supplemental MOTION in Limine to Admit or Allow Evidence (Balarezo, A.)
                    (Entered: 12/09/2015)
12/11/2015   113    MOTION to Dismiss Case for Constructive Amendment or, Alternatively, for
                    Release of Grand Jury Minutes by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Exhibit, # 2 Exhibit)(Balarezo, A.) (Entered: 12/11/2015)
12/11/2015   114    ENTERED IN ERROR.....NOTICE of Ex Parte Filing by USA as to
                    ALFREDO BELTRAN LEYVA (Attachments: # 1 Text of Proposed
                    Order)(Rosales, Adrian) Modified on 12/14/2015 (hsj). (Entered: 12/11/2015)
12/14/2015          NOTICE OF ERROR re 114 Notice (Other); emailed to
                    adrian.rosales@usdoj.gov, cc'd 9 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Incorrect event used, 2. Please refile document, 3.
                    Docket Entry 114 is to be Refiled as an Motion (zhsj, ) (Entered: 12/14/2015)
12/14/2015   115    MOTION for Leave to File by USA as to ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Rosales, Adrian) (Entered:
                    12/14/2015)
12/15/2015   117    MOTION for Leave to File Ex Parte and Under Seal by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.)
                    (Entered: 12/15/2015)
12/16/2015          Minute Entry: Motion Hearing as to ALFREDO BELTRAN LEYVA held on
                    12/15/2015 before Judge Richard J. Leon: 109 MOTION for Reconsideration
                    OF USE OF ANONYMOUS JURY filed by ALFREDO BELTRAN LEYVA
                    is GRANTED; 104 MOTION for Use of a Jury Questionnaire in Empaneling
                    an Anonymous Jury filed by USA is DENIED as MOOT; 59 MOTION TO
                    ENFORCE RULE OF SPECIALTY OR, ALTERNATIVELY, TO LIMIT
                    SCOPE OF CONSPIRACY filed by ALFREDO BELTRAN LEYVA heard
                    and taken under advisement; and Brady motions by defendant heard and taken
                    under advisement. The Government is ORDERED to submit ex parte and
                    under seal a memorandum describing the Project Fountainhead database and
                    what information, if any, is contained therein that could be relevant to this case.
                    Status Conference set for 1/21/2016 at 02:30 PM in Courtroom 18 before Judge
                    Richard J. Leon. Medical/Mental Health Alert issued to the Department of
                    Corrections Medical Unit as to ALFREDO BELTRAN LEYVA. Defendant
                    committed; commitment issued. Court Reporter: Bryan Wayne and William
                    Zaremba; Defense Attorney: A. Eduardo Ballarezo and William Purpura; US
                    Attorney: Andrea Goldbarg, Adrian Rosales, Amanda Liskamm and Marcia

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                    Henry; Interpreter: Yarmila Aragon and Teresa Salazar. (tb) (Entered:
                    12/17/2015)
12/17/2015   127    NOTICE of Filing − Fourth Request for Discovery by ALFREDO BELTRAN
                    LEYVA (Attachments: # 1 Exhibit)(Balarezo, A.) (Entered: 12/17/2015)
12/17/2015   128    NOTICE TO COURT by ALFREDO BELTRAN LEYVA (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit)(Balarezo, A.) (Entered: 12/17/2015)
12/28/2015   132    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    113 MOTION to Dismiss Case for Constructive Amendment or, Alternatively,
                    for Release of Grand Jury Minutes (Henry, Marcia) (Entered: 12/28/2015)
01/12/2016   137    MOTION for Authorization for Legal Visit with Foreign Attorney by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Exhibit, # 2 Text of
                    Proposed Order)(Balarezo, A.) (Entered: 01/12/2016)
01/19/2016   138    MOTION to Suppress Identification by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    01/19/2016)
01/20/2016   139    Government's Supplemental Opposition to Defendant's Motion to Enforce Rule
                    of Specialty or, Alternatively, to Limit Scope of Conspiracy by USA as to
                    ALFREDO BELTRAN LEYVA re 128 Notice to Court. (Attachments: # 1
                    Exhibit Exhibit 1)(Rosales, Adrian) Modified on 1/21/2016 (hsj). (Entered:
                    01/20/2016)
01/20/2016   141    REPLY by ALFREDO BELTRAN LEYVA to Government's Supplemental
                    Opposition to Defendant's Motion to Enforce Rule of Specialty or,
                    Alternatively, to Limit Scope of Conspiracy (Balarezo, A.) (Entered:
                    01/20/2016)
01/21/2016          NOTICE OF ERROR re 139 Response to document; emailed to
                    adrian.rosales@usdoj.gov, cc'd 9 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Docket Entry 139 Modified to Correct Entry as a
                    Supplemental Opposition. Do Not Refile. (zhsj, ) (Entered: 01/21/2016)
01/21/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    1/21/2016 before Judge Richard J. Leon: 59 MOTION TO ENFORCE RULE
                    OF SPECIALTY OR, ALTERNATIVELY, TO LIMIT SCOPE OF
                    CONSPIRACY filed by ALFREDO BELTRAN LEYVA GRANTED in part
                    and DENIED in part: this motion is GRANTED as to the request that the
                    conspiracy charge be limited to conspiracy to distribute five kilograms or more
                    of cocaine and fifty grams or more of methamphetamine, and DENIED insofar
                    as it seeks to limit the charged conspiracy to the period January 2008 to 2012;
                    Government's exhibit list, witness list, and the parties' proposed voir dire
                    questions and jury instructions due by 2/5/2016. Jury Trial set for 2/16/2016 at
                    10:00 AM in Courtroom 18 before Judge Richard J. Leon. Pretrial Conference
                    set for 2/8/2016 at a time to be determined in Courtroom 18 before Judge
                    Richard J. Leon. Defendant committed; commitment issued. Court Reporter:
                    William Zaremba; Defense Attorney: A. Eduardo Balarezo and William
                    Purpura, Jr.; US Attorney: Adrian Rosales, Amanda Liskamm, Andrea
                    Goldbarg, and Marcia Henry; Interpreter: Gladys Seigel. (tb) (Entered:
                    01/22/2016)


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01/29/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA : It is hereby ordered
                    that the Pretrial Conference set for 2/8/2016 will commence at 11:00 AM in
                    Courtroom 18 before Judge Richard J. Leon. SO ORDERED − Judge Richard
                    J. Leon on 01/29/16. (tb) (Entered: 01/29/2016)
02/01/2016   144    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    138 MOTION to Suppress Identification (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Liskamm, Amanda) (Entered: 02/01/2016)
02/02/2016          MINUTE ORDER: It is hereby ORDERED that defendant's 56 Motion for Bill
                    of Particulars is DENIED; it is further ORDERED that defendant's 58 Motion
                    for Disclosure of Identities of Confidential Informants is DENIED; it is further
                    ORDERED that defendant's 60 Motion to Dismiss for Improper Venue is
                    DENIED; it is further ORDERED that defendant's 113 Motion to Dismiss Case
                    for Constructive Amendment or, Alternatively, for Release of Grand Jury
                    Minutes is DENIED; and it is further ORDERED that defendant's 137 Motion
                    for Authorization for Legal Visit with Foreign Attorney is GRANTED with the
                    understanding that if the foreign attorney wants access to any protected
                    discovery, he must comply with the terms of the protective order that this Court
                    previously authorized. SO ORDERED − Judge Richard J. Leon on 02/02/16.
                    (tb) Modified on 2/2/2016 (tb). (Entered: 02/02/2016)
02/03/2016   145    ORDER as to ALFREDO BELTRAN LEYVA : Consistent with this Court's
                    February 2, 2016 Minute Order granting defendant's Motion for Authorization
                    for Legal Visit with Foreign Attorney 137 , it is hereby ordered that the United
                    States Marshal's Service is hereby directed to authorize legal visits between
                    defendant Alfredo Beltran Leyva and Mexican attorney Noe Palacios
                    Rodriguez. Signed by Judge Richard J. Leon on 02/02/16. (tb) (Entered:
                    02/03/2016)
02/06/2016   146    NOTICE of FIling − Fifth Request for Discovery by ALFREDO BELTRAN
                    LEYVA (Attachments: # 1 Exhibit)(Balarezo, A.) (Entered: 02/06/2016)
02/06/2016   147    MOTION for a Clothing Order by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/06/2016)
02/06/2016   148    MOTION for More Varied Meals by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/06/2016)
02/06/2016   149    MOTION for Shave and Haircut During Trial by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/06/2016)
02/08/2016   150    Proposed Jury Instructions by ALFREDO BELTRAN LEYVA (Balarezo, A.)
                    (Entered: 02/08/2016)
02/08/2016   151    Comments & Objections to Government's Proposed Voir Dire by ALFREDO
                    BELTRAN LEYVA. (Balarezo, A.) Modified on 2/9/2016 (hsj). (Entered:
                    02/08/2016)
02/08/2016          MINUTE ORDER: It is hereby ORDERED that the parties' proposed voir dire
                    questions and jury instructions shall be submitted no later than February 8,
                    2016 at 10:00 AM. It is further ORDERED that the pretrial conference

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                    currently scheduled for February 8, 2016 at 11:00 AM is continued until
                    February 8, 2016 at 2:30 PM.SO ORDERED − Judge Richard J. Leon on
                    02/08/16. (tb) (Entered: 02/08/2016)
02/08/2016          Minute Entry: Pretrial Conference as to ALFREDO BELTRAN LEYVA held
                    on 2/8/2016 before Judge Richard J. Leon: Defendant's 147 motion for clothing
                    is DENIED; Defendant's 148 motion for more varied meals; heard and taken
                    under advisement; Defendant's 149 motion for shave and haircut during trial is
                    DENIED. It is ordered that government file unsealed notice regarding fountain
                    head report, excluding the attached exhibit previously filed with the Court.
                    Pretrial Conference continued to 2/9/2016 at 11:00 AM in Courtroom 18
                    before Judge Richard J. Leon. Defendant committed; commitment issued.
                    Court Reporter: William Zaremba; Defense Attorney: A. Eduardo Balarezo and
                    William Purpura, Jr.; US Attorney: Adrian Rosales, Amanda Liskamm, Andrea
                    Goldbarg, and Marcia Henry; Interpreter: Teresa Salazar and Erin
                    Gaskin−Owens. (tb) (Entered: 02/09/2016)
02/09/2016          NOTICE OF ERROR re 151 Proposed Voir Dire; emailed to
                    filings@balarezolaw.com, cc'd 9 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Docket Entry Modified to Correct Entry as a
                    Comments and Objections. Do Not Refile. (zhsj, ) (Entered: 02/09/2016)
02/09/2016          Minute Entry for proceedings held before Judge Richard J. Leon: Pretrial
                    Conference as to ALFREDO BELTRAN LEYVA held on 2/9/2016. The
                    parties are directed to submit for the Court's In Camera Review, by 12:00 Noon
                    on Thursday, February 11, 2016, any demonstrative exhibits to be used during
                    opening arguments. Pretrial Conference continued to 2/11/2016 at 11:00 AM in
                    Courtroom 18 before Judge Richard J. Leon. Bond Status of Defendant:
                    Defendant Committed/Commitment Issued; Court Reporter: William Zaremba;
                    Defense Attorney: A. Eduardo Balarezo; US Attorneys: Amanda Liskamm,
                    Adrian Rosales, and Marcia Henry; Interpreters: Teresa Salazar and Angeles
                    Estrada. (jth) (Entered: 02/10/2016)
02/10/2016   154    NOTICE Regarding Project Fountainhead Reports by USA as to ALFREDO
                    BELTRAN LEYVA (Liskamm, Amanda) (Entered: 02/10/2016)
02/11/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. The Pretrial
                    Conference presently scheduled for 2/11/2016 at 11:00 AM is converted to a
                    Status Conference and is scheduled for 2/11/2016 at 12:00 PM in Courtroom
                    18 before Judge Richard J. Leon. Signed by Judge Richard J. Leon on
                    2/11/2016. (jth) (Entered: 02/11/2016)
02/11/2016          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: A Status
                    Conference is scheduled for Friday, February 12, 2016, at 3:00 PM in
                    Courtroom 18 before Judge Richard J. Leon. (jth) (Entered: 02/11/2016)
02/11/2016   155    Consent MOTION for Authorization for Legal Visit with Foreign Attorney by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Balarezo, A.) (Entered: 02/11/2016)
02/12/2016   156    ORDER as to ALFREDO BELTRAN LEYVA Granting 155 Defendant's
                    Consent Motion for Authorization for Legal Visit with Foreign Attorney; and it
                    is FURTHER ORDERED, that the United States Marshal's Service is hereby
                    directed to allow legal visits between Defendant and Mexican Attorney Noe
                    Palacios Rodriguez to take place in the Courthouse cellblock. Signed by Judge
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                    Richard J. Leon on 2/11/2016. (jth) Modified on 2/12/2016 to reflect that the
                    correct date of the signature of the Judge is 2/11/2016. (jth). (Entered:
                    02/12/2016)
02/12/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA that the Status
                    Conference presently scheduled for Friday, February 12, 2016, at 3:00 PM is
                    cancelled; and it is FURTHER ORDERED that the Jury Trial presently
                    scheduled for Tuesday, February 16, 2016, at 10:00 AM is vacated, and will be
                    rescheduled to and date and time to be determined. SO ORDERED. By Judge
                    Richard J. Leon on 2/12/2016. (jth) (Entered: 02/12/2016)
02/12/2016   157    MOTION to Continue Trial by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/12/2016)
02/17/2016   158    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    157 MOTION to Continue Trial (Henry, Marcia) (Entered: 02/17/2016)
02/17/2016          NOTICE OF HEARING as to ALFREDO BELTRAN LEYVA. A Status
                    Conference is scheduled for Tuesday, February 23, 2016, at 12:00 Noon in
                    Courtroom 18 before Judge Richard J. Leon. (jth) (Entered: 02/17/2016)
02/23/2016          Minute Entry for proceedings held before Judge Richard J. Leon: Case called
                    for a Status Conference, but not held. Plea Hearing as to ALFREDO
                    BELTRAN LEYVA held on 2/23/2016. Oral Motion by the Government to
                    Dismiss Count 1 solely as to the portion of the charge related to the Heroin and
                    Marijuana was Heard and Granted. Plea of Guilty entered by ALFREDO
                    BELTRAN LEYVA as to Count 1. REFERRAL TO PROBATION OFFICE
                    for Presentence Investigation. Sentencing scheduled for 6/6/2016 at 2:30 PM in
                    Courtroom 18 before Judge Richard J. Leon. Sentencing Memoranda from the
                    parties are due by 5/31/2016. Defendant's 157 Motion to Continue Trial is
                    Dismissed as Moot. Bond Status of Defendant: Defendant
                    Committed/Commitment Issued; Court Reporter: William Zaremba; Defense
                    Attorneys: A. Eduardo Balarezo and William B. Purpura, Jr.; US Attorneys:
                    Andrea Goldbarg, Amanda Nunn Liskamm, Adrian Rosales, and Marcia M.
                    Henry; Interpreter: Teresa Salazar. (jth) (Entered: 02/23/2016)
02/23/2016   162    WAIVER of Right to Trial by Jury as to ALFREDO BELTRAN LEYVA.
                    Approved by Judge Richard J. Leon on 2/23/2016. (jth) (Entered: 02/23/2016)
03/21/2016   164    Consent MOTION for Authorization for Legal Visit with Investigator by
                    ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of Proposed
                    Order)(Balarezo, A.) (Entered: 03/21/2016)
03/22/2016   165    ORDER: Upon consideration of defendant's 164 Motion for Authorization for
                    Legal Visit as to ALFREDO BELTRAN LEYVA (1); it is hereby ordered that
                    the motion is GRANTED; and it is further ordered that the United States
                    Marshal's Service is hereby directed to authorize legal visits between
                    Defendant and his investigator Eddy Colindres. Signed by Judge Richard J.
                    Leon on 03/22/16. (tb) (Entered: 03/22/2016)
05/03/2016   167    MOTION to Access Portion of Sealed Transcripts by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Liskamm,
                    Amanda) (Entered: 05/03/2016)


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05/06/2016          MINUTE ORDER granting 167 Motion to Access as to ALFREDO
                    BELTRAN LEYVA (1). It is hereby ORDERED that the government shall
                    have access to the sealed portion of the pretrial hearing transcript of
                    proceedings held on 2/8/2016 and 2/9/2016. Signed by Judge Richard J. Leon
                    on 5/6/2016. (lcrjl3, ) (Entered: 05/06/2016)
05/13/2016   168    TRANSCRIPT OF REDACTED PRETRIAL CONFERENCE
                    PROCEEDINGS in case as to ALFREDO BELTRAN LEYVA before Judge
                    Richard J. Leon held on February 8, 2016; Page Numbers: 1−91. Date of
                    Issuance: May 13, 2016. Court Reporter/Transcriber: William Zaremba;
                    Telephone number: (202) 354−3249. Transcripts may be ordered by submitting
                    the Transcript Order Form.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 6/3/2016. Redacted Transcript Deadline set for
                    6/13/2016. Release of Transcript Restriction set for 8/11/2016.(wz) (Entered:
                    05/13/2016)
05/13/2016   169    TRANSCRIPT OF PRETRIAL CONFERENCE PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on
                    February 9, 2016; Page Numbers: 1−121. Date of Issuance: May 13, 2016.
                    Court Reporter/Transcriber: William Zaremba; Telephone number: (202)
                    354−3249. Transcripts may be ordered by submitting the Transcript Order
                    Form.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 6/3/2016. Redacted Transcript Deadline set for
                    6/13/2016. Release of Transcript Restriction set for 8/11/2016.(wz) (Entered:

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                    05/13/2016)
05/20/2016   170    TRANSCRIPT OF PROCEEDINGS in case as to ALFREDO BELTRAN
                    LEYVA before Judge Richard J. Leon held on 2/8/2016; Page Numbers: 1−91.
                    Date of Issuance:5/3/2016. Court Reporter/Transcriber William P. Zaremba,
                    Telephone number (202) 354−3249, Transcripts may be ordered by submitting
                    the Transcript Order Form.

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 6/10/2016. Redacted Transcript Deadline set for
                    6/20/2016. Release of Transcript Restriction set for 8/18/2016.(hsj) (Entered:
                    05/23/2016)
05/27/2016   172    Recommendation of PSI Report as to ALFREDO BELTRAN LEYVA. Not for
                    public disclosure per Judicial Conference Policy.(Stevens−Panzer, Deborah)
                    (Entered: 05/27/2016)
05/30/2016   173    MOTION to Continue Sentencing Hearing by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    05/30/2016)
05/31/2016   174    SENTENCING MEMORANDUM by USA as to ALFREDO BELTRAN
                    LEYVA (Liskamm, Amanda) (Entered: 05/31/2016)
05/31/2016   176    ENTERED IN ERROR.....MOTION to Continue Sentencing by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(hsj) Modified
                    on 6/3/2016 (hsj). Modified on 6/7/2016 (zhsj). (Entered: 06/03/2016)
05/31/2016          NOTICE OF CORRECTED DOCKET ENTRY: as to ALFREDO BELTRAN
                    LEYVA re 176 MOTION to Continue Sentencing was entered in error by
                    Clerk's Office. Docket Entry 173 is the Corrected document which was entered
                    on 5/30/2016. (hsj) (Entered: 06/03/2016)
06/03/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. Sentencing in this
                    case scheduled for Monday, June 6, 2016, at 2:30 PM is converted to a Status
                    Conference on that same date and at the same time. SO ORDERED. By Judge
                    Richard J. Leon on 06/03/2016. (jth) (Entered: 06/03/2016)
06/03/2016   175    TRANSCRIPT OF PLEA HEARING PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on
                    February 23, 2016; Page Numbers: 1−26. Date of Issuance: June 3, 2016. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249.
                    Transcripts may be ordered by submitting the Transcript Order Form.
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                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 6/24/2016. Redacted Transcript Deadline set for
                    7/4/2016. Release of Transcript Restriction set for 9/1/2016.(wz) (Entered:
                    06/03/2016)
06/06/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    6/6/2016 before Judge Richard J. Leon: Sentencing set for 7/20/2016 at 02:30
                    PM in Courtroom 18 before Judge Richard J. Leon. Sentencing Memorandum
                    due by 7/11/2016. Defendant committed; commitment issued. Court Reporter:
                    William Zaremba; Defense Attorneys: A. Eduardo Balarezo and William B.
                    Purpura, Jr.; US Attorneys: Andrea Goldbarg, Amanda Nunn Liskamm, Adrian
                    Rosales, and Marcia M. Henry; Interpreter: Teresa Roman and Teresa Salazar.
                    (tb) (Entered: 06/07/2016)
06/07/2016   178    ORDER : Upon consideration of defendant's 173 Motion to Continue
                    Sentencing as to ALFREDO BELTRAN LEYVA (1); it is hereby ordered that
                    the motion is GRANTED. Sentencing hearing for June 6, 2016 is hereby
                    VACATED; and it is further ordered that sentencing is scheduled for July 20,
                    2016 and sentencing memoranda from the parties are due by July 11, 2016.
                    Signed by Judge Richard J. Leon on 06/06/16. (tb) Modified on 6/7/2016
                    (zhsj). (Entered: 06/07/2016)
06/28/2016   182    MOTION for Order Preliminary Order of Forfeiture by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Liskamm,
                    Amanda) (Entered: 06/28/2016)
07/11/2016   183    SENTENCING MEMORANDUM by ALFREDO BELTRAN LEYVA
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                    Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                    Exhibit, # 13 Exhibit, # 14 Exhibit)(Balarezo, A.) (Entered: 07/11/2016)
07/20/2016          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: Sentencing set for
                    7/20/2016 at ( TIME CHANGE ) 03:00 PM in Courtroom 18 before Judge
                    Richard J. Leon. (tb) Modified on 7/20/2016 (tb). (Entered: 07/20/2016)
07/20/2016          Minute Entry for proceedings held before Judge Richard J. Leon: Case called
                    for Sentencing, but not held. Status Conference as to ALFREDO BELTRAN
                    LEYVA held on 7/20/2016. Pre−Sentencing Hearings are scheduled for
                    9/14/2016 and 9/15/2016 at 10:00 AM in Courtroom 18 before Judge Richard
                    J. Leon. Bond Status of Defendant: Defendant Committed/Commitment Issued;
                    Court Reporter: William Zaremba; Defense Attorneys: A Eduardo Ballarezo
                    and William Purpura, Jr.; US Attorneys: Adrea Goldbard, Adrian Rosales and
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                    Marcia Henry; Probation Officer: Renee Moses−Gregory. Interpreters:
                    Benjamin Engelsberg and Maria Krismancich. (jth) (Entered: 07/21/2016)
09/09/2016   184    MOTION to Continue Sentencing Hearing and Request for Forensic
                    Evaluation by ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of
                    Proposed Order)(Balarezo, A.) (Entered: 09/09/2016)
09/09/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA re 184 MOTION to
                    Continue Sentencing Hearing and Request for Forensic Evaluation filed by
                    ALFREDO BELTRAN LEYVA: It is hereby ordered that the evidentiary
                    hearings scheduled for 09/14/16 and 09/15/16 are VACATED. Status
                    Conference set for 9/14/2016 at 12:00 PM in Courtroom 18 before Judge
                    Richard J. Leon. SO ORDERED − Judge Richard J. Leon on 09/09/16. (tb)
                    (Entered: 09/09/2016)
09/14/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    9/14/2016 before Judge Richard J. Leon:Status Conference set for 9/28/2016 at
                    12:00 PM in Courtroom 18 before Judge Richard J. Leon. Defendant
                    committed; commitment issued. Court Reporter: William Zaremba; Defense
                    Attorney: A. Eduardo Balarezo; US Attorney: Adrian Rosales and Amanda
                    Liskamm; Interpreters: Shelley Bloomberg−Lorenza and Jaime de Castellvi.
                    (tb) (Entered: 09/15/2016)
09/16/2016   189    ORDER as to ALFREDO BELTRAN LEYVA : It is hereby ordered that the
                    United States Marshal, or his designated deputy, transport the defendant to the
                    Cellblock in the Superior Court of the District of Columbia by no later than
                    09/20/16 for the purpose of a preliminary psychiatric evaluation with the
                    Forensic Legal Services Division, and return the defendant to his place of
                    confinement as soon as the evaluation has been completed. And it is further
                    ordered that upon completion of the examination, the Forensic Legal Services
                    Division shall prepare and send a written report, no later than September 23,
                    2015 via fax and email to Judge Leon's Chambers. Status Conference set for
                    9/28/2016 at 12:00 PM in Courtroom 18 before Judge Richard J. Leon. SEE
                    ORDER FOR FULL DETAILS. Signed by Judge Richard J. Leon on 09/16/16.
                    (tb) (Entered: 09/16/2016)
09/16/2016          Set/Reset Deadlines as to ALFREDO BELTRAN LEYVA: Forensic Legal
                    Services Division written report due by 9/23/2016. (tb) (Entered: 09/16/2016)
09/19/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: Upon representation
                    by the Forensic Legal Services Division that it will be able to perform a
                    preliminary psychiatric evaluation of the defendant on 9/23/2016, the deadlines
                    set in the Courts Order of 9/16/2016 [Dkt. #189] are hereby VACATED.
                    Rather, it is hereby ORDERED that the United States Marshal, or his
                    designated deputy, shall transport the defendant as needed to facilitate the
                    9/23/2016 evaluation. Additionally, it is hereby ORDERED that the written
                    report shall be due to the Court and copies provided to counsel as outlined in
                    the previous Order by close of business on 9/26/2016. SO ORDERED − by
                    Judge Richard J. Leon on 09/19/16. (tb) (Entered: 09/20/2016)
09/20/2016          Set/Reset Deadlines as to ALFREDO BELTRAN LEYVA: Forensic Legal
                    Services Division written report shall be due to the Court and copies provided
                    to counsel as outlined in the previous Order by close of business on
                    9/26/2016.(jth) (Entered: 09/20/2016)

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09/27/2016   190    NOTICE of Change of Address by A. Eduardo Balarezo (Balarezo, A.)
                    (Entered: 09/27/2016)
09/28/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    9/28/2016 before Judge Richard J. Leon: Sentencing Hearing set for
                    10/18/2016 at 02:30 PM in Courtroom 18 before Judge Richard J. Leon.
                    Defendant committed; commitment issued. Court Reporter: Scott Wallace;
                    Defense Attorney: A. Eduardo Balarezo; US Attorney: Adrian Rosales;
                    Interpreter: Teresa Roman. (tb) (Entered: 09/29/2016)
10/03/2016   191    MOTION for Authorization of Legal Visitation with Defendant by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Exhibit Translation/Client Letter
                    Signed, # 2 Text of Proposed Order)(Rocha, Victor) (Entered: 10/03/2016)
10/05/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. A motion hearing on
                    191 Motion for Authorization of Legal Visitation with Defendant is scheduled
                    for Tuesday, October 11, 2016, at 2:30 PM in Courtroom 18 before Judge
                    Richard J. Leon. Mr. Rocha should consult with the government and be
                    prepared to submit to the Court a copy of the necessary paperwork to join the
                    defense team in the event the Court grants the pending motion. SO ORDERED.
                    By Judge Richard J. Leon on 10/5/2016. (jth) (Entered: 10/05/2016)
10/07/2016   192    MOTION to Reschedule Hearing by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    10/07/2016)
10/07/2016          MINUTE ORDER granting 192 Defendant's Motion to Reschedule Hearing, as
                    to ALFREDO BELTRAN LEYVA (1). The hearing set for October 11, 2016,
                    at 2:30 p.m. is hereby RESCHEDULED to October 11, 2016, at 12:00 p.m.
                    Signed by Judge Richard J. Leon on 10/7/2016. (kt) (Entered: 10/07/2016)
10/07/2016          Set/Reset Hearing, as to ALFREDO BELTRAN LEYVA: The Motion Hearing
                    set for 10/11/2016, at 2:30 PM, is RESCHEDULED to 12:00 PM, in
                    Courtroom 18, before Judge Richard J. Leon. (kt) (Entered: 10/07/2016)
10/11/2016   193    NOTICE OF ATTORNEY APPEARANCE: Victor E. Rocha appearing for
                    ALFREDO BELTRAN LEYVA (Rocha, Victor) (Entered: 10/11/2016)
10/11/2016   194    ORDER: It is hereby ordered that Victor Edward Rocha's 191 Motion for
                    Authorization of Legal Visitation with defendant ALFREDO BELTRAN
                    LEYVA (1) is GRANTED. Signed by Judge Richard J. Leon on 10/11/16. (tb)
                    (Entered: 10/11/2016)
10/11/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    10/11/2016 before Judge Richard J. Leon: Oral motion by defendant to
                    continued sentencing; heard and DENIED. Oral motion to seal transcript; heard
                    and GRANTED. Defendant committed; commitment issued. Court Reporter:
                    William Zaremba; Defense Attorney: A. Eduardo Balarezo, Harry Tun and
                    Victor Rocha; US Attorney: Adrian Rosales and Amanda Liskamm;
                    Interpreter: Teresa Salazar and Erin Gaskin. (tb) (Entered: 10/12/2016)
10/16/2016   195    Consent MOTION for Authorization For Legal Visit With His Foreign
                    Attorney by ALFREDO BELTRAN LEYVA. (Attachments: # 1 Text of
                    Proposed Order)(Balarezo, A.) (Entered: 10/16/2016)
10/18/2016   196
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                    ORDER as to ALFREDO BELTRAN LEYVA. Defendant's Consent 195
                    Motion for Authorization for Legal Visit with his Foreign Attorney is
                    GRANTED; and it is further ORDERED, that the United States Marshal's
                    Service is hereby DIRECTED to authorize legal visits between defendant and
                    Mexican attorney Juan Ramon Mondragon Solis as long as he is accompanied
                    by defendant's America counsel, A. Eduardo Balarezo. SO ORDERED. Signed
                    by Judge Richard J. Leon on 10/17/2016. (jth) (Entered: 10/18/2016)
10/18/2016          Minute Entry: Status Conference as to ALFREDO BELTRAN LEYVA held on
                    10/18/2016 before Judge Richard J. Leon:Sentencing rescheduled to
                    11/16/2016 at 10:00 AM in Courtroom 18 before Judge Richard J. Leon and
                    may continued to 11/17/2016 at 10:00 AM in Courtroom 18 before Judge
                    Richard J. Leon. Defendant committed; commitment issued. Court Reporter:
                    William Zaremba; Defense Attorney: A. Eduardo Ballarezo; US Attorney:
                    Adrian Rosales, Amanda Liskamm, Andrea Goldbard; Prob Officer: Renee
                    Moses−Gregory; Interpreter: Teresa Salazar and Teresa Roman. (tb) (Entered:
                    10/19/2016)
11/14/2016          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: Sentencing reset for
                    11/16/2016 to 11:00 AM in Courtroom 18 before Judge Richard J. Leon. (tb)
                    (Entered: 11/14/2016)
11/14/2016   197    MOTION for Reconsideration of MOTION TO ENFORCE RULE OF
                    SPECIALTY OR, ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY
                    AND MOTION TO WITHDRAW GUILTY PLEA by ALFREDO BELTRAN
                    LEYVA. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                    Exhibit, # 6 Exhibit)(Balarezo, A.) (Entered: 11/14/2016)
11/15/2016   198    TRANSCRIPT OF STATUS HEARING PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on January
                    21, 2016; Page Numbers: 1−52. Date of Issuance: November 15, 2016. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249,
                    Transcripts may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a publi c terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 12/6/2016. Redacted Transcript Deadline set for
                    12/16/2016. Release of Transcript Restriction set for 2/13/2017.(wz) (Entered:
                    11/15/2016)
11/15/2016   199    MOTION Preclude Testimony by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:

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                    11/15/2016)
11/16/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA: In light of the
                    defendant's recent filings, docket entries 197 and 199 ; it is hereby ordered that
                    today's sentencing hearing is CANCELLED, and it is further ordered that the
                    government shall respond to the defendant's two motions by noon on 11/23/16.
                    The Sentencing hearing will be rescheduled to a date to be determined. SO
                    ORDERED − Judge Richard J. Leon on 11/16/16. (tb) (Entered: 11/16/2016)
11/16/2016          Terminate Deadlines and Hearings as to ALFREDO BELTRAN LEYVA: (tb)
                    (Entered: 11/16/2016)
11/16/2016   200    Consent MOTION for Extension of Time to File Response/Reply as to 197
                    MOTION for Reconsideration of MOTION TO ENFORCE RULE OF
                    SPECIALTY OR, ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY
                    AND MOTION TO WITHDRAW GUILTY PLEA by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Rosales,
                    Adrian) (Entered: 11/16/2016)
11/17/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. It is ORDERED that
                    the Government's 200 Consent Motion for an Extension of Time to File a
                    Response to Defendant's 197 Motion to Reconsider Motion to Enforce Rule of
                    Specialty or, Alternatively, to Limit Scope of Conspiracy is GRANTED. The
                    Government's Response to Defendant's 197 Motion to Reconsider, and the
                    Government's Response to Defendant's 199 Motion to Exclude Testimony are
                    now due by December 12, 2016. SO ORDERED. By Judge Richard J. Leon on
                    11/17/2016. (jth) (Entered: 11/17/2016)
11/18/2016   201    TRANSCRIPT OF STATUS HEARING PROCEEDINGS in case as to
                    ALFREDO BELTRAN LEYVA before Judge Richard J. Leon held on October
                    18, 2016; Page Numbers: 1−18. Date of Issuance: November 18, 2016. Court
                    Reporter/Transcriber: William Zaremba; Telephone number: (202) 354−3249.
                    Transcripts may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a publi c terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, PDF or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 12/9/2016. Redacted Transcript Deadline set for
                    12/19/2016. Release of Transcript Restriction set for 2/16/2017.(wz) (Entered:
                    11/18/2016)
11/21/2016   202    MOTION for Release of Brady Materials by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    11/21/2016)
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11/21/2016   203    Supplemental MOTION for Reconsideration MOTION TO ENFORCE RULE
                    OF SPECIALTY OR, ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY
                    by ALFREDO BELTRAN LEYVA. (Attachments: # 1 Exhibit)(Balarezo, A.)
                    (Entered: 11/22/2016)
11/22/2016   204    MOTION to Withdraw as Attorney by Victor E. Rocha. by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Rocha,
                    Victor) (Entered: 11/22/2016)
12/08/2016   207    Consent MOTION for Extension of Time to File Response/Reply to
                    Defendant's Motion by USA as to ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Rosales, Adrian) (Entered:
                    12/08/2016)
12/12/2016          MINUTE ORDER: Upon consideration of the government's 207 Motion for
                    Extension of Time to File Response/Reply as to ALFREDO BELTRAN
                    LEYVA (1); it is hereby ordered that the motion is GRANTED. Government
                    response due by 12/23/2016. SO ORDERED − by Judge Richard J. Leon on
                    12/09/16. (tb) (Entered: 12/12/2016)
12/12/2016          Set/Reset Deadlines as to ALFREDO BELTRAN LEYVA: Government
                    response due by 12/23/2016. (tb) (Entered: 12/12/2016)
12/12/2016   208    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    199 MOTION Preclude Testimony (Liskamm, Amanda) (Entered: 12/12/2016)
12/12/2016   209    NOTICE RE: Sentencing by USA as to ALFREDO BELTRAN LEYVA
                    (Liskamm, Amanda) (Entered: 12/12/2016)
12/12/2016   210    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    202 MOTION for Release of Brady Materials (dr) (Additional attachment(s)
                    added on 12/13/2016: # 1 Exhibit 1) (zdr). (Entered: 12/13/2016)
12/16/2016   211    MOTION to Access Portion of Sealed Transcript by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Rosales,
                    Adrian) (Entered: 12/16/2016)
12/19/2016   212    ORDER: Upon consideration of the government's 211 Motion For Access To
                    Sealed Portions of Plea Hearing Transcript Held on February 23, 2016 as to
                    ALFREDO BELTRAN LEYVA (1); it is hereby ordered that the motion is
                    GRANTED. Signed by Judge Richard J. Leon on 12/17/16. (tb) (Entered:
                    12/19/2016)
12/23/2016   213    RESPONSE by USA as to ALFREDO BELTRAN LEYVA re 197 MOTION
                    for Reconsideration of MOTION TO ENFORCE RULE OF SPECIALTY OR,
                    ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY AND MOTION TO
                    WITHDRAW GUILTY PLEA (Attachments: # 1 Exhibit, # 2 Exhibit)(Rosales,
                    Adrian) (Entered: 12/23/2016)
12/23/2016   214    ENTERED IN ERROR.....SUPPLEMENT by USA as to ALFREDO
                    BELTRAN LEYVA re 213 Response to motion, (Rosales, Adrian) Modified
                    on 12/27/2016 (hsj). (Entered: 12/23/2016)
12/23/2016   215    Consent MOTION for Extension of Time to File Response/Reply to
                    Government Oppositions by ALFREDO BELTRAN LEYVA. (Attachments: #
                    1 Text of Proposed Order)(Balarezo, A.) (Entered: 12/23/2016)

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12/27/2016          NOTICE OF ERROR re 214 Supplement to any document; emailed to
                    adrian.rosales@usdoj.gov, cc'd 11 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Incorrect header/caption/case number, 2. Please
                    refile document, 3. Docket Entry 214 to be Refiled with Criminal Case Number
                    on Document. (zhsj, ) (Entered: 12/27/2016)
12/30/2016          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. Upon consideration
                    of Defendant's 215 Consent Motion for Enlargement of Time to File Reply to
                    Government Oppositions, which contains a request that the Court direct the
                    Government to produce a copy of the Mexican Foreign Ministry's response to
                    the government's request for information, it is ORDERED that the Motion for
                    Enlargement of Time is GRANTED. Defendant's reply is now due by January
                    23, 2017. It is FURTHER ORDERED that the Government shall file a
                    response to Defendant's request to produce a copy of the Mexican Foreign
                    Ministry's response to the government's request for information by January 6,
                    2017. SO ORDERED. By Judge Richard J. Leon on 12/30/2016. (jth) (Entered:
                    12/30/2016)
01/02/2017          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. It is ORDERED that
                    Defendant's 199 Motion to Preclude Testimony is DENIED AS MOOT. SO
                    ORDERED. By Judge Richard J. Leon on 1/2/2017. (jth) (Entered:
                    01/02/2017)
01/03/2017   216    SUPPLEMENT by USA as to ALFREDO BELTRAN LEYVA re 214
                    Supplement to any document, 213 Response to motion, (Attachments: # 1
                    Declaration)(Rosales, Adrian) (Entered: 01/03/2017)
01/20/2017   220    ENTERED IN ERROR.....REPLY by ALFREDO BELTRAN LEYVA re 197
                    MOTION for Reconsideration of MOTION TO ENFORCE RULE OF
                    SPECIALTY OR, ALTERNATIVELY, TO LIMIT SCOPE OF CONSPIRACY
                    AND MOTION TO WITHDRAW GUILTY PLEA. (Balarezo, A.) Modified to
                    add link on 1/23/2017 (znmw). Modified on 1/23/2017 (zhsj). (Entered:
                    01/20/2017)
01/20/2017   221    REPLY by ALFREDO BELTRAN LEYVA re 209 NOTICE RE: Sentencing.
                    (Balarezo, A.) Modified to add link on 1/23/2017 (znmw). (Entered:
                    01/20/2017)
01/20/2017   222    REPLY by ALFREDO BELTRAN LEYVA re 202 MOTION for Release of
                    Brady Materials. (Balarezo, A.) Modified to add link on 1/23/2017 (znmw).
                    (Entered: 01/20/2017)
01/23/2017          NOTICE OF CORRECTED DOCKET ENTRY: as to ALFREDO BELTRAN
                    LEYVA re 220 Reply to MOTION for Reconsideration of MOTION TO
                    ENFORCE RULE OF SPECIALTY OR, ALTERNATIVELY, TO LIMIT
                    SCOPE OF CONSPIRACY AND MOTION TO WITHDRAW GUILTY
                    PLEA was entered in error and counsel will refile said pleading. (hsj) (Entered:
                    01/23/2017)
01/23/2017   223    REPLY by ALFREDO BELTRAN LEYVA re 197 MOTION Reconsideration
                    OF MOTION TO ENFORCE RULE OF SPECIALTY OR, ALTERNATIVELY,
                    TO LIMIT SCOPE OF CONSPIRACY (Balarezo, A.) Modified to add link on
                    1/24/2017 (znmw). (Entered: 01/23/2017)
01/24/2017   224

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                    NOTICE OF ATTORNEY APPEARANCE Jason James Ruiz appearing for
                    USA. (Ruiz, Jason) (Entered: 01/24/2017)
02/06/2017   225    ORDER as to ALFREDO BELTRAN LEYVA that Defendant's Motion to
                    Reconsider 197 203 is DENIED. It is further ORDERED that Defendant's Fifth
                    Motion to Compel 202 is DENIED. The Court construes Government's 209
                    Notice Re: Sentencing as a motion and DENIES the request to rely on the
                    stipulation agreement at sentencing. (See the Order for complete details) It is
                    further ORDERED that the Court will hear evidence as to the defendant's
                    actual offense conduct and relevant conduct, and thereafter determine the
                    appropriate sentence in this case, on 2/14/2017, at 10:00 AM in Courtroom 18
                    before Judge Richard J. Leon. SO ORDERED. Signed by Judge Richard J.
                    Leon on 2/5/2017. (jth) Modified on 2/6/2017 to reflect that Dkt. #209 is the
                    Government's and not the Defendant's Notice (jth). Modified on 2/9/2017 (jth).
                    (Entered: 02/06/2017)
02/09/2017   226    MOTION for Reconsideration of Denial of Defendants Motion to Reconsider
                    Denial of Defendants Motion to Reconsider Motion to Enforce Rule of
                    Specialty or, Alternatively, to Limit Scope of Conspiracy by ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Balarezo, A.)
                    (Entered: 02/09/2017)
02/09/2017   227    MOTION to Withdraw Plea of Guilty by ALFREDO BELTRAN LEYVA.
                    (Attachments: # 1 Text of Proposed Order)(Balarezo, A.) (Entered:
                    02/09/2017)
02/09/2017          MINUTE SCHEDULING ORDER as to ALFREDO BELTRAN LEYVA. The
                    government shall submit any response it has to defendant's Motion for
                    Reconsideration [Dkt. #226] and Motion to Withdraw Plea of Guilty [Dkt.
                    #227] by 12:00 Noon on Friday, February 10, 2017. SO ORDERED. By Judge
                    Richard J. Leon on 2/9/2017. (jth) (Entered: 02/09/2017)
02/10/2017   229    Memorandum in Opposition by USA as to ALFREDO BELTRAN LEYVA re
                    226 MOTION for Reconsideration of Denial of Defendants Motion to
                    Reconsider Denial of Defendants Motion to Reconsider Motion to Enforce Rule
                    of Specialty or, Alternatively, to Limit Scope of Conspiracy (Attachments: # 1
                    Exhibit)(Rosales, Adrian) (Entered: 02/10/2017)
02/10/2017          MINUTE ORDER denying 226 Motion for Reconsideration as to ALFREDO
                    BELTRAN LEYVA and denying 227 Motion to Withdraw Plea of Guilty as to
                    ALFREDO BELTRAN LEYVA. Defendant's motions are hereby DENIED. A
                    memorandum order stating the Court's reasons is forthcoming on Monday,
                    February 13, 2017. The sentencing hearing will go forward as scheduled on
                    Tuesday, February 14, 2017. SO ORDERED. Signed by Judge Richard J. Leon
                    on 2/10/2017. (lcrjl3, ) (Entered: 02/10/2017)
02/12/2017   235    REPLY re 226 Motion for Reconsideration by ALFREDO BELTRAN
                    LEYVA TO GOVERNMENT'S OPPOSITION TO DEFENDANT'S MOTION
                    TO RECONSIDER DENIAL OF MOTION TO RECONSIDER DEFENDANT'S
                    MOTION TO ENFORCE RULE OF SPECIALTY OR, ALTERNATIVELY, TO
                    LIMIT SCOPE OF CONSPIRACY (Balarezo, A.) Modified event title and link
                    on 2/13/2017 (znmw). (Entered: 02/12/2017)
02/13/2017   236    MEMORANDUM ORDER as to ALFREDO BELTRAN LEYVA. Consistent
                    with the Minute Order of February 10, 2017, the Court DENIES defendant's
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                    Motion for Reconsideration [#226] and his Motion to Withdraw Plea of Guilty
                    [#227] and will proceed with sentencing as scheduled. (See the Memorandum
                    Order for complete details). Signed by Judge Richard J. Leon on 2/13/2017.
                    (jth) (Entered: 02/13/2017)
02/13/2017          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: The Hearing as to
                    the defendant's actual offense conduct and relevant conduct, and thereafter the
                    determination as to the appropriate sentence that is presently set for
                    2/14/2017,at 10:00 AM is reset for 2/14/2017 at 11:00 AM in Courtroom 18
                    before Judge Richard J. Leon. (jth) (Entered: 02/13/2017)
02/14/2017          Minute Entry for proceedings held before Judge Richard J. Leon: Evidentiary
                    Hearing as to ALFREDO BELTRAN LEYVA begun and held on 2/14/2017,
                    Exhibits admitted into evidence. Evidentiary Hearing is continued to 2/23/2017
                    at 10:00 AM in Courtroom 18 before Judge Richard J. Leon. Bond Status of
                    Defendant: Defendant Committed/Commitment Issued; Court Reporter:
                    William Zaremba; Defense Attorneys: A. Eduardo Balarezo and William B.
                    Purpura, Jr.; US Attorneys: Adrian Rosales, Amanda Liskamm and Andrea
                    Goldbarg; Probation Officer: Renee Moses−Gregory; Interpreters: Benjamin
                    Engelsberg and Teresa Salazar; Government Witness: Thomas Hatherley. (jth)
                    (Entered: 02/16/2017)
02/14/2017   239    EXHIBIT LISTS for Evidentiary Hearing by USA, ALFREDO BELTRAN
                    LEYVA. (jth) (Entered: 02/16/2017)
02/16/2017   238    MOTION to Access Portion of Sealed Transcript by USA as to ALFREDO
                    BELTRAN LEYVA. (Attachments: # 1 Text of Proposed Order)(Rosales,
                    Adrian) (Entered: 02/16/2017)
02/17/2017          Set/Reset Hearings as to ALFREDO BELTRAN LEYVA: The continuation of
                    the Evidentiary Hearing presently set for 2/23/2017 at 10:00 AM is reset for
                    2/23/2017 at 12:00 PM in Courtroom 18 before Judge Richard J. Leon. (jth)
                    (Entered: 02/17/2017)
02/23/2017          Minute Entry for proceedings held before Judge Richard J. Leon: Evidentiary
                    Hearing as to ALFREDO BELTRAN LEYVA resumed and held on 2/23/2017.
                    Exhibits admitted into evidence. Evidentiary Hearing continued to 3/1/2017 at
                    10:00 AM in Courtroom 18 before Judge Richard J. Leon. Bond Status of
                    Defendant: Defendant Committed/Commitment Issued; Court Reporter:
                    William Zaremba; Defense Attorneys: A. Eduardo Balarezo and William B.
                    Purpura; US Attorneys: Adrian Rosales, Amanda Liskamm and Andrea
                    Goldbarg; Interpreters: Benjamin Engelsberg and Teresa Salazar; Government
                    Witnesses: Thomas Hatherley and Paul Peschka. (jth) (Entered: 02/24/2017)
03/01/2017          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. The Evidentiary
                    Hearing presently scheduled for 3/1/2017 at 10:00 AM is rescheduled for 11:00
                    AM in Courtroom 18 before Judge Richard J. Leon. SO ORDERED. By Judge
                    Richard J. Leon on 03/01/2017. (jth) (Entered: 03/01/2017)
03/01/2017          Minute Entry for proceedings held before Judge Richard J. Leon: Evidentiary
                    Hearing as to ALFREDO BELTRAN LEYVA resumed and concluded on
                    3/1/2017. A Hearing regarding Forfeiture is scheduled for 3/8/2017 at 2:30 PM
                    in Courtroom 18 before Judge Richard J. Leon. Bond Status of Defendant:
                    Defendant Committed/Commitment Issued; Court Reporter: William Zaremba;
                    Defense Attorneys: A. Eduardo Balarezo and William B. Purpura, Jr.; US
                                                                                                      33
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                    Attorneys: Adrian Rosales, Amanda Liskamm and Andrea Goldbarg; Probation
                    Officer: Renee Moses−Gregory; Interpreters: Benjamin Engelsberg, Teresa
                    Salazar and Teresa Roman; Government Witness: Paul Peschka. (jth) (Entered:
                    03/01/2017)
03/08/2017          Minute Entry for proceedings held before Judge Richard J. Leon: Status
                    Conference/Forfeiture Hearing as to ALFREDO BELTRAN LEYVA held on
                    3/8/2017. The Court issues its findings on the Sentencing Enhancements.
                    Sentencing is set for 4/5/2017 at 2:30 PM in Courtroom 18 before Judge
                    Richard J. Leon. Supplemental Sentencing Memoranda from the parties are due
                    by 3/24/2017. Bond Status of Defendant: Defendant Committed/Commitment
                    Issued; Court Reporter: William Zaremba; Interpreters: Benjamin Engelsberg
                    and Shelley Blumberg−Lorenzana; Defense Attorney: A. Eduardo Balarezo;
                    US Attorneys: Adrian Rosales and Amanda Nunn Liskamm. (jth) (Entered:
                    03/08/2017)
03/24/2017   242    SUPPLEMENTAL SENTENCING MEMORANDUM by USA as to
                    ALFREDO BELTRAN LEYVA (Liskamm, Amanda) Modified event title on
                    3/27/2017 (znmw). (Entered: 03/24/2017)
03/24/2017   243    SUPPLEMENTAL SENTENCING MEMORANDUM by ALFREDO
                    BELTRAN LEYVA (Balarezo, A.) Modified event title on 3/27/2017 (znmw).
                    (Entered: 03/24/2017)
04/03/2017   244    PRELIMINARY ORDER OF FORFEITURE as to ALFREDO BELTRAN
                    LEYVA. Signed by Judge Richard J. Leon on 4/1/2017. (jth) (Entered:
                    04/03/2017)
04/05/2017          MINUTE ORDER as to ALFREDO BELTRAN LEYVA. Sentencing presently
                    scheduled for 4/5/2017 at 2:30 PM is rescheduled for 4/5/2017 at 3:30 PM in
                    Courtroom 18 before Judge Richard J. Leon. SO ORDERED. By Judge
                    Richard J. Leon on 4/5/2017. (jth) (Entered: 04/05/2017)
04/05/2017          Minute Entry for proceedings held before Judge Richard J. Leon: Sentencing as
                    to ALFREDO BELTRAN LEYVA held on 4/5/2017. Count 1: sentenced to
                    Life Imprisonment, followed by Sixty (60) months of Supervised Release,
                    Special Assessment of $100.00 and a fine of $5,000.00 were imposed. Bond
                    Status of Defendant: Defendant Committed/Commitment Issued; Court
                    Reporter: William P. Zaremba; Defense Attorney: A. Eduardo Balarezo; US
                    Attorneys: Adrian Rosales, Andrea Goldbarg, Amanda Nunn Liskamm and
                    Marcia M. Henry; Probation Officer: Renee Moses−Gregory; Interpreters:
                    Teresa Roman and Erin Gaston−Owen. (jth) (Entered: 04/05/2017)
04/05/2017   245    FINAL ORDER OF FORFEITURE FOR MONEY JUDGMENT. (see order
                    for complete details). Signed by Judge Richard J. Leon on 4/5/2017. (jth)
                    (Entered: 04/05/2017)
04/05/2017   246    ENTERED IN ERROR.....NOTICE OF APPEAL by ALFREDO BELTRAN
                    LEYVA (Balarezo, A.) Modified on 4/6/2017 (znmw). (Entered: 04/05/2017)
04/05/2017   247    NOTICE OF APPEAL − Final Judgment by ALFREDO BELTRAN LEYVA
                    re Sentencing. Filing fee $0. Fee Status: No Fee Paid (CJA). Parties have been
                    notified. (znmw) (Entered: 04/06/2017)
04/06/2017

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                      NOTICE OF CORRECTED DOCKET ENTRY: as to ALFREDO BELTRAN
                      LEYVA Docket Entry 246 Notice (Other) was entered in error and was refiled
                      as Docket Entry 247 Notice of Appeal − Final Judgment. (znmw) (Entered:
                      04/06/2017)
04/06/2017   248      Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to
                      US Court of Appeals. The Fee was not paid because it was filed In Forma
                      Pauperis (CJA) as to ALFREDO BELTRAN LEYVA re 247 Notice of Appeal
                      − Final Judgment. (znmw) (Entered: 04/06/2017)
04/13/2017   249      JUDGMENT as to ALFREDO BELTRAN LEYVA. Statement of Reasons Not
                      Included. Signed by Judge Richard J. Leon on 12184. (Attachments: # 1 Final
                      Order of Forfeiture for Money Judgment) (hsj) (Entered: 04/17/2017)
04/13/2017   250      STATEMENT OF REASONS as to ALFREDO BELTRAN LEYVA re 249
                      Judgment Access to the PDF Document is restricted per Judicial Conference
                      Policy. Access is limited to Counsel of Record and the Court.. Signed by Judge
                      Richard J. Leon on 4/13/2017. (hsj) (Entered: 04/17/2017)
04/17/2017   251      Transmitted Supplemental Record on Appeal and Docket Sheet to USCA.
                      Copy of Judgment and Commitment Order Filed on 4/13/2017 as to
                      ALFREDO BELTRAN LEYVA re 247 Notice of Appeal − Final Judgment.
                      (hsj) (Entered: 04/17/2017)
04/24/2017            USCA Case Number as to ALFREDO BELTRAN LEYVA 17−3027 for 247
                      Notice of Appeal − Final Judgment filed by ALFREDO BELTRAN LEYVA.
                      (hsj) (Entered: 04/25/2017)
06/08/2017         36 USCA Appeal Fees received $505, receipt number 4616085200 as to
                      ALFREDO BELTRAN LEYVA re 247 Notice of Appeal − Final Judgment.
                      (hsj) (Entered: 06/19/2017)




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MIME−Version:1.0
From:DCD_ECFNotice@dcd.uscourts.gov
To:DCD_ECFNotice@localhost.localdomain
Bcc:
−−Case Participants: A. Eduardo Balarezo (filings@balarezolaw.com), Victor E. Rocha
(rochalawassistant@gmail.com, vicrocha@comcast.net), Amanda Nunn Liskamm
(amanda.liskamm@usdoj.gov, crm−ndd.ecf@usdoj.gov, tanya.smith@usdoj.gov), Adrian Rosales
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Andrea Goldbarg (andrea.goldbarg@usdoj.gov, tanya.smith@usdoj.gov), William B. Purpura, Jr
(wpurp@aol.com), Judge Richard J. Leon (john_haley@dcd.uscourts.gov,
rjl_dcdecf@dcd.uscourts.gov)
−−Non Case Participants: Spencer S. Hsu (spencer.hsu@washpost.com), Clerk of Court, US
Court of Appeals (dcnoa@cadc.uscourts.gov)
−−No Notice Sent:

Message−Id:5126087@dcd.uscourts.gov
Subject:Activity in Case 1:12−cr−00184−RJL USA v. LEYVA USCA Appeal Fees
Content−Type: text/html

                                           U.S. District Court

                                           District of Columbia

Notice of Electronic Filing


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Case Name:       USA v. LEYVA
Case Number:     1:12−cr−00184−RJL
Filer:
Document Number: No document attached
Docket Text:
USCA Appeal Fees received $505, receipt number 4616085200 as to ALFREDO BELTRAN
LEYVA re [247] Notice of Appeal − Final Judgment. (hsj)


1:12−cr−00184−RJL−1 Notice has been electronically mailed to:

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Jason James Ruiz   Jason.Ruiz@usdoj.gov, Crm−ndd.ecf@USDOJ.GOV

1:12−cr−00184−RJL−1 Notice will be delivered by other means to::




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